 

    

Case 1:96-cv-OO&:]W.J-LCS Document 150 Fi|eo| ‘04/97 Page 1 0f.2
NATIONAL 7ILDLIFE FEDERATION®

People and Nature: Our Futm'e ls in the Balance

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m Rocky Mountain Natural Resource Centelr) S NSTQ

   

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March 31, 1997
v APR 4' 1997

Robert March, Clerk of the Court
United States District Court for , o
the District of New Mexico ‘FW“ ‘&

200 East Griggs ‘:)l.EZ".K
Las Cruces, New Mexico 88001

Re: Diamond Bar Cattle Company v. United States (CIV No. 96-0437
HB/JHG) -- Withdrawal of Applicant-Intervenors’ February 28, 1997
Motion for Alteration of the December 4, 1996 Memorandum Opinion
Regarding Applicants’ Motion to Intervene

Dear Mr. March:

On February 28, 1997, the Applicant-Intervenors (the National and NeW
Mexico Wildlife Federations, Gila Watch, the_Rio Grande chapter of Trout
Unlimited, and Wilderness Watch) began the motions process specified in
D.N.M.LR-Civ.7 by serving all parties With a MOTION FOR ALTERATION OF
THIS COURT’S DECEMBER 4, 1996 MEMORANDUM OPINION REGARDING
APPLICANTS’ MOTION TO INTERVENE.

Based on the in-court representations as to the provisions of a stipulated
judgment by the plaintiffs and government on March 25, 1997, the Applicant-
Intervenors no longer feel it necessary to pursue their February 28, 1997 motion.
I have therefore advised all parties We do not intend to follow through on filing
that motion, and consider it Withdrawn.

Respectfully submitted,

 
  

DOUGLAS W. WOLF _ 7 ,,
New Mexico Environmental Law THOMAS D. LUSTIG

 

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Rocky Mountain Natural Resource Center

March 31, 1997

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Resources Division . 87109

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Washington, D.C. 20044-0663

Re: Diamond Bar Cattle Company v. United States (CIV N 0 96~ 0437
HB/JHG)-- Withdrawal of Applicant- Intervenors’ February 28, 1997
Motion for Alteration of` the December 4, 1996 Memorandum Opinion
Regarding Applicants’ Motion_to Intervene

Dear Folks:

Based on the in-court representations as to the provisions of a stipulated
judgment by the plaintiffs and government on March 25, 1997, the Applicant~ 1
Intervenors» no longer feel it necessary to pursue their February 28, 1997 MOTION
FOR ALTERATION OF THIS COURT’S DECEMBER 4, 1996_MEMORANDUM
OPINION REGARDING APPLICANTS’ MOTION TO INTERVENE.

Accordingly, I have sent the Clerk of the Court the attached letter
"Withdrawing" our February 28, 1997 motion, which under (D. N. M. LR- Civ. 7) Was
never filed With the Court.

Sincerely,

§<MA

THOMAS D. LUSTIG

' National Wildlife Federation
2260 Baseline Road, Suite 100
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(303) 786-8001 ext. 18
Colorado Atty. reg. No. 6064
Counsel of Record for Plaintiffs

 

c: Robert M. March, Clerk of` the C'ourt

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